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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

ASHLEY N. BROWN,

          Plaintiff,

v.                                                         CASE NO.: 3:22-cv-00920-TJC-PDB

BAPTIST HEALTH SYSTEM,
INC.1,

      Defendant.
__________________________________/


                        DEFENDANT’S DISCLOSURE STATEMENT
          COMES NOW, Defendant, Southern Baptist Hospital of Florida, Inc., by and

through its undersigned attorneys, pursuant to Local Rule 3.03, and files it

Disclosure Statement as follows:


1.        Each person – including each lawyer, association, firm, partnership,

corporation, limited liability company, subsidiary, conglomerate, affiliate,

member, and other identifiable and related legal entity – that has or might have

an interest in the outcome:

          Ashley Brown
          Meg Zabijaka
          Gary Wheeler
          Constangy, Brooks, Smith & Prophete, LLP
          Brandon J. Hill
1
    The proper legal name of Defendant is Southern Baptist Hospital of Florida, Inc.
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      Africa F. Altidor
      Wenzel, Fenton & Cabassa, P.A.
      Baptist Behavioral Health, LLC
      Baptist Health System, Inc.
      Baptist Neurology, Inc.
      Southern Baptist Hospital of Florida, Inc. d/b/a Baptist Medical Center
      Southern Baptist Hospital of Florida, Inc. d/b/a Baptist Medical Center
      Jacksonville
      Southern Baptist Hospital of Florida, Inc. d/b/a Baptist Medical Center
      South
      Southern Baptist Hospital of Florida, Inc. d/b/a Wolfson’s Children’s
      Hospital
      Southern Baptist Hospital of Florida, Inc. d/b/a Baptist Medical Center
      Clay
      Southern Baptist Hospital of Florida, Inc. d/b/a Baptist MD Anderson
      Cancer Center
      Southern Baptist Hospital of Florida, Inc. d/b/a Baptist Behavioral Health
      Baptist Medical Center of the Beaches, Inc.
      Baptist Medical Center of Nassau, Inc.
      Amelia Family Practice, Inc.
      Baptist Health Ambulatory Services, Inc.
      Baptist Health Properties, Inc.
      Baptist Health System Foundation, Inc.
      Baptist Occupational Health, Inc.
      Baptist Physician Partners, LLC
      Baptist Physician Partners ACO, LLC
      Baptist Urology, Inc.
      Baptist Pediatrics, Inc.
      Baptist Primary Care, Inc.
      Baptist South Medical Condominium Association, Inc.
      Baptist South Medical Condominium Association I-A, Inc.
      Baptist South Medical Condominium Association II, Inc.
      Baptist Beaches Medical Condominium Association, Inc.
      Baptist Nassau Medical Condominium Association, Inc.
      Baptist Clay Medical Condominium Association, Inc.
      Baptist Obstetrics and Gynecology, Inc.
      Baptist Southeast Gynecologic Oncology Associates, Inc.
      Baptist Specialty Physicians, Inc.
      CE-Tech of Jacksonville, Inc.

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      Coastal Community Health, Inc.
      Corporate Health, LLC
      HMS Physician Services, Inc.
      Lyerly Baptist, Inc.
      Pavilion Associates, Ltd.
      Pavilion Health Services, Inc.
      Pavilion Infusion Therapy, Inc.
      Pavilion Plaza Pharmacy, Inc.
      Reid Medical Building Condominium Association, Inc.
      The Pavilion Condominium Association, Inc.
      The Pavilion Developer, Inc.
      Pavilion Health Services of Clay, Inc.
      Baptist AgeWell Physicians, Inc.
      Baptist Cardiology, Inc.
      Baptist ENT Specialists, Inc.
      Baptist Physician Enterprise Services, Inc.
      Baptist Primary Care – Internal Medical Group, Inc.
      Baptist Pulmonary Specialists, Inc.
      Baptist Radiosurgery, LLC
      Jacksonville Orthopaedic Institute, Inc.
      Pavilion Radiosurgery, Inc.
      Pavilion Urgent Care, Inc.
      BayBap, LLC
      Baptist Health Clinic, Inc.
      Baptist MD Anderson Cancer Physicians, Inc.
      Outpatient Center Condominium Association, Inc.
      Southeast Georgia Health System, Inc.
      Southeast Georgia Health System Foundation, Inc.
      Cooperative Healthcare Services, Inc.
      Katharina’s Post Mastectomy Apparel, Inc.
      SGHS Holdings, Inc.
      Glynn Anesthesia Associates, Inc.
      Southeast Georgia Health System QALICB I, LLC
      Southeast Georgia CyberKnife Center, LLC




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2.    Each entity with publicly traded shares or debt potentially affected by the

outcome:

      None presently known.

3.    Each additional entity likely to participate, including in a bankruptcy

proceeding the debtor and each member of the creditor’s committee:

      None presently known.

4.    Each person arguably eligible for restitution.

      Ashley Brown alleges that she is the victim of wrongful conduct. Defendant

denies this allegation.


                                  CERTIFICATION


      I certify that, except as disclosed, I am unaware of an actual or potential

conflict of interest affecting the district judge or the magistrate judge in this action,

and I will immediately notify the judge in writing within fourteen days after I

know of a conflict.


      DATED this 16th day of September, 2022.




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                                              Respectfully submitted,

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                                              PROPHETE, LLP
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                                              Jacksonville, Florida 32202
                                              Telephone: (904) 356-8900
                                              Facsimile: (904) 356-8200


                                              By: /s/ Margaret Zabijaka
                                                  Margaret P. Zabijaka
                                                  Florida Bar No.: 119880
                                                  mzabijaka@constangy.com
                                                  Gary R. Wheeler
                                                  Florida Bar No.: 0131865
                                                  gwheeler@constangy.com
                                                  Attorneys for Defendant



                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 16th day of September, 2022, a copy of the

foregoing has been filed and served by the CM/ECF system, which will send a

Notice of Electronic Filing to all counsel of record.



                                              /s/ Margaret Zabijaka
                                              Attorney




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